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Exhibit 38
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

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In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION

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THIS DOCUMENT RELATES To:

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HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHTELD OF
LOUISTANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAI, 52
HEALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others Similarly
Situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY.

KOR KK KK RK KR KK RK KR KR KR KK ER KKK KKK AK

THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC.

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

WOK KKK KR KK RR RK RK KKK KKK KEKE KRKE AKER

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

HOR KR RK RK RRR KR KR KK KE RAR KK KEK AK KEK Index No.

THIS DOCUMENT APPLIES To: 765000/06
ALL CASES

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was involved, and I just wanted you to explain
that more to me.

A. No, I'm sorry, I just think it's a
language issue.

So these documents are all documents
that during the course of writing my report I
felt it was appropriate to cite them, and so
these are all cited. If there are other legal
documents cited in the report that are not
included here, that would be an oversight. But
I believe that these are the sum total of legal
documents that I cite in my report, and so it
was entirely based on the documents that I felt
were relevant.

Q. Is it the sum total of all the
documents that you considered and relied upon
for purposes of your 2008 report?

A. In terms of legal documents, yes, I
believe so. Yes.

Q. Did you consider or rely upon any
deposition testimony in connection with your
2008 report?

A. Idid not. I believe in the
earlier -- that some of those Bates numbered

574

Q. Have you read any depositions of any
physicians who have prescribed Neurontin?

A. No, except to the extent that they
have been cited in Dr. Bell's report and
Dr. Keeley's report.

Q. Do you mean that you went back and
looked at deposition transcripts because they
were cited in a report you read, or you have a
familiarity with them based on what you've read
in other reports?

A. Ihave a familiarity with them based
on what they -- what I've seen in other reports.
I believe that's true for some of the company
depositions as well. I believe there was a
Marino deposition.

Again, these were depositions that
came up in other reports, but I have not
specifically sought them out, read them and
relied upon them.

Q. You haven't read transcripts of any
company witness reports or doctor -- I'm sorry,
company witness depositions or doctor
depositions?

A. Not to my recollection, no.

 

 

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documents, you'll actually have to forgive me
while I look, I believe there were some -- there
was some deposition testimony from Franklin that
I had cited earlier, but I may be wrong about

that. I'm looking for -- I would have to check.

But I don't believe there was
anything -- there was nothing specific in this
analysis that relied on deposition testimony. I
don't see the deposition testimony cited in my
class certification report, but I recall that
there was something that was relevant, but I
would have to go and figure out exactly what
that was I was thinking of.

Q. Let me ask it like this.

With the possible exception of any
deposition testimony, excerpts or otherwise that
might be imbedded in the Bates numbered
documents, is there any other deposition
testimony that you considered or relied upon in
connection with your 2008 report?

A. No, there isn't.

Q. Have you read any depositions of any
company witnesses?

A. Ihave not, no.

 

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Q. Did you consider your Neurontin
declaration in the Pennsylvania Clark case in
connection with your work on your 2008 MDL
declaration?

A. Well, it was -- certainly that work
was -- as you know, the work is closely related,
and the analysis that I undertook in that matter
influenced in some ways the way I approached
this matter, you know, having worked with the
data, understood the patterns that I obtained in
that analysis, certainly influenced it. But I
wouldn't say that I relied upon it. It's hard
to say that they're not intertwined, however.

Q. It's something that you considered,
though, in connection with the work you did for
the MDL report? .

A. Iwould say that that would be a fair
statement, I considered it, yes.

Q. Any particular reason why it's not
listed among the documents that are listed on
Attachment B?

A. Well, again, I don't mean to split
hairs, but I didn't really rely on that
analysis. Some of the things that I learned in

 

 

8 (Pages 572 to 575)
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NDTI data, and IAMS IPS data as your primary
data sources, is that correct?

A. That's correct.

Q. You mentioned some census data, I
think, earlier as well that you rely on?

A. That's correct.

Q. That's publicly available data?

A. That's correct.

Q. Is there any other data that you rely
on for purposes of your analysis?

A. Maybe I could just review it to be
sure.

Q. Sure, please do.

A. | believe that those are certainly the
major ones.

(Witness reviewing document.)
A. Ibelieve that would be everything.
BY MR. MISHKIN:

Q. How did you choose those specific data
sources?

A. Well, those IMS and Verispan are the
two major sources for pharmaceutical sales and
promotion data, so there, to my knowledge, there
are no other sources of promotional spending

‘samples, and direct to consumer advertising?

806

Q. And the source for Neurontin
promotional data in your model is IMS IPS data?

A. Correct.

Q. The IMS IPS data sources confine to
detailing in journal advertising, correct?

A. They also have samples and direct to
consumer advertising, neither of which are
available for the whole period. So I believe we
do have the sample data, I think it was extra to
buy the direct to consumer advertising data, and
there, I'm fairly certain, there wasn't any for
Neurontin.

Q. SoIMS IPS contains data on, as you
understand it, detailing, journal advertising,

A. That's correct. I believe that's

everything there.
As I reported the sampling data, I

believe they only go back to 1998, and I
reported the correlation between the samples and
details as is well-known. Most samples are
distributed through detailing, so they tend to
be highly correlated.

Q. There's no other type of promotional

 

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data.

Woulters Kluwer, I believe, owns one
of them now, so if I may include that. So those
are the possible sources.

And I believe that, as we discussed
earlier, that some of the data we had obtained
for earlier reports either in this matter or in
the Pennsylvania matter, and so the data were
already available, and we augmented them where
we needed to with additional data.

Q. Did you ever consider using any other
data sets that you ultimately didn't use.

A. I don't believe so. I think in some
of these cases Verispan and IMS Health have
identical data series available, or virtually
identical, so we may have price shopped between
the two of them. But I don't believe other
sources of data other than those were
considered.

Q. The promotional data you mentioned
that you used for your analysis is detailing in
journal advertisement spending for Neurontin, is
that correct?

 

 

A. That's correct.

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data that I haven't mentioned that's included in
IMS IPS, to your knowledge?

A. I don't believe so. If you're
thinking of something specific you might need to
just ask me, but I don't believe so.

Q. No, I'm not trying to trick you.

My understanding, and I just want you
to confirm it, is that there's no other type of
promotional data contained in the IMS IPS data
source other than detailing and journal
advertising and perhaps sample data and direct
to consumer advertising?

A. That's correct. And direct to
consumer advertising, I believe, are additional,
they buy them from another source, TMS Media.

Q. Okay. And the direct to consumer
advertising component wasn't relevant to this
case?

A. That was my understanding, that's
right.

Q. You didn't use any direct to consumer
advertising data in connection with your work on
this case?

A. No. And I believe that I actually

 

 

66 (Pages 804 to 807)
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asked about it, asked IMS about it, and there
wasn't any.

Q. Okay. And then the sample data which
you're saying is in IMS IPS that you report, you
didn't ultimately use that in your analysis
here, is that correct?

A. That's correct, because it's
incomplete.

Q. Okay. And your measure of promotion,
your input of promotion into your model is not
based on something other than IMS IPS data, is
that correct?

A. That's correct.

Q. So, for example, the measure of
promotion that you use as an input into your
model, it's not based on documents or data
received from Defendants, for example?

A. No, it's not.

Q. How does IPS quantify the amount spent
on detailing?

A. IPS, my understanding of how it works
is that physician practices report on detail
visits and the subject of those visits, and then
IMS essentially imputes detailing cost based on

810

would be appropriately counted.

Q. And what are you basing that on?

A. Well, so, for example, a visit to a
psychiatrist to do nothing but leave a sample I
would believe would be subject to the
allegations.

Q. And what is the basis of that belief?

A. Again, my reading of the complaint.

Q. Did you have any discussions with
counsel about that belief?

A. Idon't believe we talked about that
specific issue, no.

Q. Okay. Do you know the extent to which
your promotional spending input includes
spending on what we'll call pure sampling visits
of the type that you just mentioned where there
was no discussion between the sales
representative and the doctor?

A. Ido not, no.

Q. Have you investigated, taken any steps
to investigate that issue?

A. No, Ihave not.

Q. Let's talk about journal
advertisements. You said that your promotions

 

 

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detailing time and time per minute in essence.
That's my understanding. It's an imputation.

Q. Do they use a concept of a cost per
call?

A. That's the sort of thing that I was
describing.

Q. Okay. I think you previously
testified to this; do you recall that you've
testified that the IPS data that you've used as
an input into your model includes visits by
sales representatives to doctors where they
simply left a sample of Neurontin but didn't
have any actual discussion with the doctor?

A. That's my understanding, that those
kinds of visits count as well, yes.

Q. So part of what you're treating as
alleged improper promotion here is pure sampling
by sales representatives to particular
specialities where there was no actual
discussion between the sales representative and
a physician?

A. Well, it may be that there was no
actual discussion. But I believe the way the
but for scenarios are constructed, those visits

 

811

variable also contains money spent on journal
advertisements?

Correct.

And that data also comes from IPS?
Correct.

It doesn’t come from any other source?
No, it does not.

How does IPS quantify the amount of
money spent on journal advertisements?

A. Similar method, they can observe ads
in journals, and they apply the standard journal
rate pricing to those advertisements to
construct the cost of the advertisements.

Q. And how does IPS allocate journal
advertisement expenditures to particular
specialties?

A. According to readership.

Q. How does that work?

A. So ifa neurology journal, for
example, the readership is 80 percent
neurologists, then 80 percent of that
advertising spend would go into the neurologist
category.

Q. Okay. And to the extent there are

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67 (Pages 808 to 811)
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

KKK K KEKE KK RK KEKE KKK KKK KKK KKK K KAR KKK RK

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION

KEK KEK KK KR KR KR KER KER KKK KKK KERR KK EK KKKAEKSE

THIS DOCUMENT RELATES TO:

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HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHIELD OF
LOUISIANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAL 52
HEALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others similarly
Situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY.

KREKK KE KKK KR KKK RK KKK KE KK KKK KKK AKER KEK

THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC.

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

KEK KR KKK RE KKK KKK KEKE KK KEK KR KR KKK KE KKK KKKE EK

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

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THIS DOCUMENT APPLIES To: 765000/06

ALL CASES

 

 

 
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was being retained by counsel here today, and
the Zyprexa states case/cases involve individual
law firms for each of those cases.

Q. The national version of the Zyprexa
case, though, who were you retained by?

A. Hagens Berman Sobol Shapiro.

Q. Allright. Any others where the
counsel was different?

A. Idon't believe so. We discussed
yesterday the Neurontin Canada matter, those are
different lawyers.

Q. Right.

Okay. Any others that come to mind?

A. No.

Q. Looking at all these cases, in which
ones have you offered opinions or are you
intending to offer opinions regarding the
magnitude of impact that some sort of promotion
had on pharmaceutical sales?

A. The Zyprexa matters involve such
calculation, as well as the Neurontin matters,
as you know.

Q. Any others?

A. I don't believe so. I don't believe

914

Q. Okay. You can put that aside for now.

A. Okay.

Q. Let's talk about the assumptions that
you've made regarding alleged improper promotion
in your 2008 report. I think the easiest thing
to do is to turn to Attachment 1.4, which is the
very last page of the report.

Are you with me there on 1.4?

A. lam.

Q. This attachment sets forth the
categories of promotion that you've assumed to
be improper for purposes of your analysis,
correct?

A. That's correct.

Q. These assumptions were provided to you
by counsel?

A. Yes, they were.

Q. According to the assumptions counsel
provided to you, detailing and journal
advertising are assumed to be proper or improper
based on the specialty of the physician who
received the detailing or the journal
advertising?

A. That's correct.

 

913

so, no.

Q. Okay. I'm sorry, did you want to
amend that?

A. I'm -- I believe the Vioxx litigation
has a component related to the impact of
promotion.

Q. What work have you done on that, and
what is the component?

A. The work that I've done on that has
been very preliminary, so not -- I haven't done
any analysis on that matter yet, simply proposed
a methodology. And I believe, I'm not certain,
the matter that you may be familiar with, the
general background in the Vioxx matter which
relates to information about the product, I'm
not certain that that analysis won't involve
examining the impact of promotion. The report
that I filed was quite a while ago, so I don't
remember the exact details of the proposed
analysis.

Q. Does the proposed analysis contemplate
a regression analysis?

A. That's the part that I can't
absolutely remember.

 

 

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Q. Other than the physician's specialty
and the date of the promotion, there's no other
criteria applied to determine whether a
particular promotion is proper or improper in
your analysis, is that correct?

A. That's correct.

Q. Let's talk about journal advertising
first.

As [understand it, you were told to
assume that some of Defendants' journal
advertising for Neurontin was off-label, is that
correct?

A. Iwas told to assume that some of
Defendants' journal advertising could be proven
to have supported the campaign for off-label
use. So when you say advertising being
off-label, I want to be sure that we understand
each other, that the advertisements did not
necessarily mention pain, for example,
neuropathic pain per se, but instead were
general ads aimed at delivering a message to
physicians who were not using Neurontin for
epilepsy.

Q. So you've been told to assume that if

 

 

6 (Pages 912 to 915)
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there's an advertisement purely related to an
on-label use, it's still possible that any

impact that such an advertisement had could give
rise to liability?

A. Well, again I think my understanding,
and this is described in my declaration, is that
there were two kinds of advertisements that
Defendants used in support of Neurontin sales.

One was an indication specific ad
talking about epilepsy.

The other was a general ad simply
describing either the safety or efficacy of
Neurontin without discussing indications, and
that the second type of ad, as Defendants' own
documents cite, and those documents I cite in my
report, was aimed at primary care physicians and
others to try to support these other efforts
that were ongoing to generate interest in using
Neurontin for off-label uses.

Q. Let's talk about those categories one
at a time.

With respect to journal advertisements
that do refer to a particular on-label
indication, your understanding is that those are

journal advertising.

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of journal advertising to specialties other than
neurology, and a given time period over which,
my understanding is, that counsel has evidence
the Defendant used its journal advertising to
support this off-label campaign.

So I don't believe a parsing of
individual advertisements was -- Clearly a
parsing of such individual advertisements
doesn't enter into this definition of off-label

Q. Okay. To make sure that I understand
then, the theory that you've been asked to
accept and to assume is true for part of your
analysis is that it's possible that a journal
advertisement that on its face is completely
within the label, doesn't say anything about any
off-label uses, still potentially could give
rise to liability in this matter depending on
what Defendants had intended with respect to
that journal advertisement?

MR. NOTARGIACOMO: Object to the
question.

A. Again, I think I want to answer that
as directly as possible, but I haven't made a

 

 

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not alleged to be improper in any way?

A. Well, I don't think that that's
necessarily a fair way to summarize. I think
that the matter is such that to the extent that
the journal advertisements were placed so they
would be seen by those physicians who do not
treat epilepsy, that the allegations suggest

that those advertisements were intended again to

support this broader campaign for general uses
of Neurontin.

So whether or not specifically the ad
mentioned epilepsy, I don't believe that was the
criteria by which the lawyers decided what was
going to be considered illegal versus
legitimate.

Q. What were the criteria applied to a
journal advertisement that is talking about an
on-label indication? What criteria do you
understand counsel are applying to determine
whether such an advertisement is improper or
not?

A. I think for the purposes of this
analysis, again the assumptions I was asked to
make were with regard to the extent of targeting

 

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judgment one way or another about that nuance
legal issue that you've just put before me. I
have been -- [ found on my own in discovery
materials support for the notion that Defendants
used their journal advertisements to promote the
use of Neurontin for uses other than those that
were on its approved label. I'm aware that
there were these general advertisements and
specific advertisements and the data suggest
considerable targeting of these specialties

other than neurology.

Whether the lawyers will prove that
advertisements that were -- did not, let's say,
violate FDA promotional regulations were -- can
be proven to have been used in this way that
under this matter will be considered
illegitimate, I don't know the exact legal
Strategy they're using.

BY MR. MISHKIN:

Q. Your estimates include some number of
prescriptions that you've determined were caused
by journal advertisements, is that correct?

A. That's correct.

Q.__ And among those journal advertisements

 

 

7 (Pages 916 to 919)
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strategy documents.

Q. Let's talk a little bit more about
those.

Can you be as specific as possible and
explain what those marketing documents said with
respect to the journal advertisements?

A. I believe that there's a document that
I cite in my report that talks about, again
about a general advertising campaign that was
aimed at primary care physicians.

Shall I look?

Q. Yes. Can you point me to the document
you're talking about?

A. Sure.

Footnote 33 on Page 13.

Q. And for the record, you're referring
to a document that was entitled "Neurontin 2000
Situation Analysis" with the Bates number
Pfizer_MDana_0000776 through 806, is that right?

A. Correct.

Q. Are there any other documents that you
have in mind that you believe support the
assumption you've made?

A. This is the one I had in mind.

926

So using the IMS IPS methodology,
counsel told you to assume that, for example,
all journal advertising expenditures allocated
by IMS to the physician groups, psychiatrists
and, quote unquote, other physicians were
improper, is that correct?

A. That's correct.

Q. And counsel also asked you to assume
that all journal advertising expenditures
allocated by IMS to the physician group called
PHN prior to the third quarter of 2002 were
improper?

A. That's correct.

Q. Now, by assuming that some amount of
improper -- by assuming that there was some
amount of improper journal expenditures, you're
making a different assumption from the one that
you made in the Pennsylvania case, is that
right?

A. I believe that's true, yes.

Q. Why did you make a different
assumption here?

A. Again, this was an assumption I was
asked to make by counsel, and the lawyers in

 

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Q. Did you review any other documents
that supported this assumption?

A. I don't know any to cite here, so I
can't say for certain that I didn't see other
documents, but I only cited the one here.

Q. As you sit here now, you're not aware
of any other documents that would support this
assumption?

A. As I sit here I'm not, no.

Q. Okay. Let's talk about the
methodology used to classify certain journal
advertising expenditures as improper or proper.

I think as we discussed yesterday IMS
IPS allocates journal advertising to different
specialties based on the journal's readership,
is that right?

A. That's correct.

Q. And if we look again at Attachment
1.4, counsel asked you to make some assumptions
based on that methodology that IPS IMS uses, is
that right?

A. Based on the data that are produced by
that methodology, yes.

Q. Right.

 

 

927

these cases, as you know, are different and
have -- my understanding is they, under the
different laws in which they're operating and
the matters they're trying, they are pursuing
different legal avenues.

Q. Did you have any discussions with
anyone about the fact that you were applying
different assumptions in the two cases with
regard to journal advertisement?

A. I don't recall any discussions to that
point, no.

Q. When did counsel tell you that they
wanted you to treat some portion of journal
advertising as improper and subject to the
allegations?

A. As I believe my best recollection was
yesterday, at least perhaps I'll be consistent
with yesterday, I think we started discussing
the but for assumptions in June, perhaps as late
as July, but the assumptions with regard to
journal advertising were discussed at the same
time as the assumptions with regard to
detailing.

Q.__Did there ever come a point where the

 

 

9 (Pages 924 to 927)
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Q. And this one refers to Neurontin
scored tablets, and then above that it says "an
effective dosage is conveniently within reach
for patients with postherpetic neuralgia," do
you see that?

A.  Isee that, yes.

Q. Same question about this
advertisement; as you sit here, are you aware of
any way in which the content of this journal
advertisement is improper?

MR. NOTARGIACOMO: Same objection.

A. Again, I am not specifically aware.

The only thing that I notice is that this
advertisement cites the JAMA study, or two JAMA
studies, I believe -- one JAMA study and one
pain study that I believe are mentioned in the
complaint, but I would have to refer directly to
the complaint to be sure that those are the same
studies.

BY MR. MISHKIN:

Q. Do you have some reason to believe
that the reference to those articles here is
improper?

MR. NOTARGIACOMO: Objection.

942

Q. Have Plaintiffs told you that part of
their theory of liability in the case involves
references in journal advertisements to studies
in some cases?

A. Not specifically. My understanding is
that the allegations suggest that Defendant used
a multifactorial approach and leveraged
research, peer influence, all of these things
together. So my understanding is that the
allegations are all intertwined with one
another.

Q. I'm asking you, though, a very
specific question about journal advertisements
and whether you've had any discussions or
otherwise have any knowledge of what Plaintiff
are alleging with respect to journal
advertisements that reference studies.

A. Not with that specific -- specifically
the connection between advertising and those
published studies, no.

Q. Do you know whether physician
specialties other than the group you've called
PHN specialties and neurologists subscribe to
the New England Journal of Medicine?

 

'| those studies in its marketing more generally by

 

941

A. Again, I'm not qualified to make a
legal opinion on that, but I believe that some
of the data described in this advertisement are
specifically -- I'm sorry, are we looking -- I'm
looking at the first page.

Q. Maybe that explains the confusion.

A. I'm sorry.

Q. That's all right. Let's do the one on
the last page.

A. The page before appears to report some
of the data that I believe are mentioned with
regard to bias studies. IT apologize. The back
page. Again I have -- I don't know necessarily
that the content is improper, I have no reason
to believe that.

Q. Have you had any discussions with
counsel about either this particular journal
advertisement or ones like it, for example
journal advertisements that cite studies?

A. Idon't believe that we have discussed
journal advertisements that cite studies. We
have discussed the notion of Defendants' use of

way of detailing, for example.

 

943

A. I don't know, other than -- let me
just be clear on the question.

So PHN specialties and other
physicians, other being the residual, are likely
to subscribe to the New England Journal of
Medicine.

Q. So let's talk about that other group,
for example.

A. Okay.

Q. To be clear, with respect to the,
quote unquote, other physician group, you've
assumed that any journal advertisement,
expenditures directed at that, quote unquote,
other physician group were improper throughout
the entire time period of the analysis?

A. That's correct.

Q. And you've just told me that you think
it's quite likely that the physicians in that
other physician group do subscribe to the
New England Journal of Medicine?

A. Certainly there are some of them in
there.

Q. Okay. And for that reason your
analysis is treating some portion of what was

 

 

13 (Pages 940 to 943)
ow A or BW DY HB

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spent on the journal advertisements in the
New England Journal of Medicine as improper
expenditures subject to liability?

A. That's correct.

Q. Okay. You can put that aside.

Let's look again at Attachment 1.4.

So let's talk now about detailing.

According to the assumptions counsel
provided you, all detailing to psychiatrists and
the physician group called other was improper
from the launch of Neurontin until the end of
the period that you look at?

A. That's correct.

Q. And also according to the assumptions
counsel provided you, all detailing to the group
called PHN physicians was improper from the
launch of Neurontin until the second quarter of
2002?

A. That's correct.

Q. And also according to the assumptions
counsel provided you, detailing to neurologists
was off-label after the third quarter of 1995 in
the same proportion that neurologists wrote
off-label prescriptions of Neurontin?

946

in the complaint.

Q. Let's try to categorize them, if we
could.

Tell me more about the first document
that you referenced.

A. I'd have to look for the specific
cite, but there is an e-mail correspondence, a
physician who e-mailed Warner-Lambert, I
believe, again my recollection that it was
Warner-Lambert, regarding an improper detail
related to an off-label use for Neurontin.

Q. Do you know what the date of that
communication was?

A. No. I would have to go back and look
in the documents.

Q. Was it during the Warner-Lambert time
period?

A. That is my recollection, that it
predates the Pfizer period. Whether it's
Parke-Davis or Warner-Lambert, I can't entirely
recall.

Q. Okay. Is it possible by looking at
your report that you could figure out which
document this is?

 

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A. That's correct.

Q. Did you ever run any models or ever
run your analysis using any different
assumptions regarding detailing from the ones
that we just talked about, putting aside the one
that you've already mentioned with the similar
but different treatment of the neurologist
alleged off-label portion?

A. I don't believe so. Aside from what
we've talked about, different start dates and
that issue of specifically how to model the
neurologist detailing, no.

Q. What documents did you review that
informed you about what Pfizer and
Warner-Lambert sales representatives were
actually saying to physicians about Neurontin?

A. There are many documents, many of them
have been cited in the complaint. As you know,
there are some e-mail correspondence that shows
up; a specific physician who got in touch with,
I believe it was Warner-Lambert at the time
after being detailed improperly. There are a
number -- any number of documents that I cite

 

 

across my declarations as well as that are cited

947

A. It's possible.

Q. Spend however much time you need to do
that.

A. It may be more likely that it's
actually in my earlier report.

(Witness reviewing documents.)
BY MR. MISHKIN:

Q. You know, let's go off the record a
moment so that we can dial someone in. Why
don't you keep looking.

A. Sure. That's fine.

THE VIDEOGRAPHER: The time is 9:30.
We're off the record.

(Off the record discussion.)

THE VIDEOGRAPHER: We're back on the
record. The time is 9:32.

A. So I'm not entirely sure that it's
this cite. If you see footnote -- sorry, | am
in Exhibit 1, which is my report in support of
Plaintiffs’ motion for class certification.

Q. Right. You know, just give me a
minute because I've got to pull my document.
Now I know how you feel.

MR. NOTARGIACOMO: Take all the time

 

 

14 (Pages 944 to 947)
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BPWNROUAINHOAWNHHO ©

Saran O e® WY

NVNNNN PH PB RP Pe eB
PW DdDrP OCHO WAIDHOBPWH HP OW

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strategy that I undertook instead, as you know,
was to identify based on instructions from
counsel the off-label -- the allegedly illegal
promotion by time and specialty, and to look for
the effects by indication.

The comparator methodology was to be a
potential substitute for the methodology I used
here, and I did not undertake such an analysis.

Q. Just so I understand, it was meant to
be a substitute, or as originally conceived it
was meant to be a substitute for what?

A. As originally conceived it was one
alternative way of identifying the incremental
effect of the allegedly unlawful promotion, was
to take a drug that was exactly the same as
Neurontin and look for any difference in the
trend in off-label use.

But in fact, it's, having considered
the matter more closely, it's unclear how one
would choose such a comparator given Neurontin's
use for so many different indications, it was
not clear how one would go about selecting such
acomparator. So I did not undertake any
specific analysis to follow that line of logic,

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you didn't do in connection with your
Pennsylvania report?

A. I'm not entirely sure how the last
clause pertains, so let me say ] examined the
extent to which the sample data that I had for a
limited period of time that we discussed
yesterday was correlated with the detailing
data, I may have done that for Pennsylvania.

In the report you see I report a
correlation coefficient for those two series,
and again examine discovery materials. I think
they are largely the same as what I did in
Pennsylvania, although I believe that I did
additional document review in the MDL matter,
Again, as we discussed, we made some

attempt to construct a series out of the
meetings data, and so that was additional
analysis of those allegedly improper promotional
events.

Q. When did you do that analysis of the
meetings data?

A. Again, when I say "analysis" I mean we
went systematically through discovery documents
and asked counsel to provide us with all the

 

 

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instead rejected it early on.
Q. Okay.
A. Yes.

Q. Early on you determined that the
potential avenue of finding a comparator drug to
Neurontin would not be feasible?

A. That's correct.

Q. Do you remember when you reached that
conclusion?

A. I think prior to starting the
Pennsylvania analysis.

MR. NOTARGIACOMO: When you have a
chance to take a break.

MR. MISHKIN: Let's go off the record.

THE VIDEOGRAPHER: The time is 10:42.
We're off the record.

(Whereupon, a recess was taken.)

THE VIDEOGRAPHER: Back on the record.
The time is 10:51.

BY MR. MISHKIN:

Q. Professor Rosenthal, have you done any
investigation of Defendants’ other promotional
conduct or alleged other promotional conduct
besides detailing and journal advertising that

 

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meetings and events-related documents that they
had, and attempted to construct a time series,
and failed in that attempt. That would have
been done in May, June of 2008.

Q. Okay. Any other analysis of other
promotional activities not relating to detailing
or journal advertising that happened after that
June, May-June, 2008 time period?

A. Nothing that I can recall
specifically, no.

Q. Okay. And then that correlation
investigation that you referred to with respect
to sampling, just so that I'm clear, that was an
investigation of the extent to which the sample
data and the detailing data were correlated when
looking at IMS IPS?

A. That's correct.

Q. Okay. You didn't do any other type of
correlation analysis like that with respect to
other types of commercial conduct, isn't that
right?

A. I didn't have data series to do that,
so no.

Q. And anything else come to mind in

 

 

27 (Pages 996 to 999)
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BWNHR OWA IAN BWNHR OW

Ow DW PWN PH

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terms of research or investigation of
promotional activities, again that you wouldn't
have done in Clark or that you would not yet
have done as of the time of your Clark
deposition, if you remember when that was in
July, 2008?

A. I-- nothing that I can think of, no.

Q. Okay. Let's turn now to time trends.

What is a time trend?

A. A time trend is a construct that is
introduced in a statistical model. The broader
concept of a time trend is anything that has a
pattern over time.

A time trend specifically when we're
talking about econometric models is a construct
that is introduced to the model to capture some
agglomeration of variables believed to have such
a pattern over time.

Q. And why do econometricians sometimes
put time trends in models?

A. Econometricians put time trends in
models when they believe there is an independent
factor that is moving both the dependent and
certain independent variables over time, so

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the time trends -- it is possible that versions
of these models were run with time trends.

Q. Okay. Can you explain to me why
there's some uncertainty about whether the
models that you put forward in your 2008 report
were run with time trends or not?

A. I think it's just been six months
since these analyses were done, and I have a
little trouble separating in my mind
recollections from the Pennsylvania analysis and
this one given their similarity and the length
of time that has passed. So I think, I think
it's most likely that versions of these models
were run with time trends, but I'm simply not
sure.

Q. Do any results still exist of the
models that you've included in your 2008 report
where time trends were included?

A. No, they do not.

Q. You referred to results of preliminary
versions of your model in the Pennsylvania
matter where time trends were included. Did
your review of those results inform your
judgment as to whether time trends should be

 

 

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something independent of the included right-hand
side variables that has this effect of moving

all of these things over time. And go a time

trend is put in in essence to control for the

effects of this unmeasured factor.

Q. To be clear, the models that you've
put forward in your 2008 report don't include a
time trend, is that right?

A. That's correct.

Q. None of them do?

A. That's correct.

Q. Originally when you were thinking
about the analysis, when you set out to do it,
you had planned to include a time trend in your
models, is that right?

A. That's right.

Q. Did you ever run a version of any of
your models included in your 2008 report that
did include a time trend?

A. I don't believe that these models were
ever run with a time trend, but I am not 100
percent certain that that's true. I know that I
used time trends in early versions of the
Pennsylvania models, and I am not certain that

 

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included in the models that you've put forward
in your 2008 report?

A. Certainly, yes.

Q. And do those results still exist?

A. No, they do not.

Q. And that's because they were not
retained?

A. That's correct.

Q. Okay. Tell me why you didn't put the
time trends in the models.

A. Okay. So as I noted, a time trend is
intended to pick up other unmeasured factors,
that is factors that the analyst does not have
data to capture but believe have an independent
effect on both the independent and dependent
variables, and thereby would lead to spurious
correlation between those variables.

A time trend, because it is intended
to capture something unmeasured, is inherently
based on some untestable assumption as to
existence and functional form, so many
economists feel comfortable making certain
assumptions about the functional form of a time
trend to put in a model, either linear, that

 

 

28 (Pages 1000 to 1003)
